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           APPENDIX G
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Exh. 131, Army Corps, Greater New Orleans Hurricane and Storm Damage Risk Reduction
System (HSDRRS) 100-Year Level of Protection, June 13, 2008.

       307. The presence of this type of surge reduction barrier during Hurricane Katrina would

have prevented the significantly magnified surge from overtopping the LPV structures along

both sides of the Reach 1/GIWW channel and the overtopping of the LPV structures along both

sides of the IHNC, thereby averting the resulting catastrophic flooding of New Orleans East, the

Lower 9th Ward, and portions of upper St. Bernard Parish. Exh. 133, IHNC Surge Reduction

Project Fact Sheet at pp. 1-2; Exh. 136, Draft Individual Environmental Report, Improved

Protection on the Inner Harbor Navigation Canal, Orleans and St. Bernard Parishes, Louisiana,

IER #11 Tier 2 Borgne, at pp. 52-53; Exh. 130 (Owen 30(b)(6) Depo. (Oct. 16, 2008)) at 77:9-

78:7; 119:18-121:23; Exh. 138, Louisiana Coastal Area (LCA) Ecosystem Restoration, LA

(General Investigations): Comprehensive Coastwide Ecosystem Restoration Feasibility Study, at

p. 4, ¶ 1.1; Exh. 93, Kemp Supp. Decl. (Oct. 2008) at ¶21, Table 1; ¶¶22, 30, 30(b), 30(c).

Destruction of Wetlands

       308. Before and after the MR-GO’s design and construction, there were feasible means

to prevent the intrusion of saltwater into the Reach 2 channel and the adjoining Central Wetlands

Unit and Golden Triangle and environs while at the same time allowing ship passage. For

example, a man-made saltwater barrier at Bayou La Loutre—a retractable gate—would have

effectively replaced the natural barrier that was severed by the MR-GO construction.

Alternatively, a lock could have been constructed at Bayou La Loutre Ridge. Other technology

for salinity control included inflatable barriers for deployment when there was no ship traffic.

Exh. 96, Fitzgerald Expert Report (July 2008) at p. 2-13, fig. 2.18; p. 6-5; see also Exh. 95,

Day/Shaffer Expert Report (July 2008) at pp. 23, 33-34, 36.




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       309. Both before and after the MR-GO’s opening, there were a number of feasible

measures that could have been undertaken to prevent salinity intrusion into the Central Wetlands

Unite and adjacent areas. These salinity control measures would have prevented much of the

vegetation loss, including the massive die off of bald cypress—water tupelo swamps because

saltwater intrusion would have been significantly reduced. Exh. 95, Day/Shaffer Expert Report

(July 2008) at pp. 33-34, 36.

       310. Many of these salinity control measures were suggested both before and after the

MR-GO’s construction, but the Corps never implemented them at any time over 50 years. Exh.

95, Day/Shaffer Expert Report (July 2008) at p. 33.

       311. In addition, saltwater intrusion into the Central Wetlands Unit could have been

greatly reduced by placing water control structures (before cutting the Bayou La Loutre Ridge)

in openings in the spoil banks between the MR-GO and the Central Wetlands Unit at Bayou

Bienvenue and Bayou Dupre. This was an easy and economical salinity prevention measure.

Exh. 95, Day/Shaffer Expert Report (July 2008) at p. 34.

       312. In addition to feasible salinity control measures, there were proven methods for

wetlands restoration—to revegetate trees killed by saltwater intrusion—that were known to the

Army Corps during the MR-GO’s lifetime. Exh. 95, Day/Shaffer Expert Report (July 2008) at p.

33; Exh. 1989, Letter to John Breaux, U.S. Senate in response to letter dated 09/12/1994

concerning St. Bernard Parish Resolution SBPC #454-08-94 re: Closing the MRGO (NOP-018-

000002658) (10/12/94).

       313. At the time of Katrina, the Corps was creating 300 acres of emergent wetlands near

the MR-GO using dredged spoil materials. Exh. 216, Letter from Don T. Riley to Peter Savoy,

June 17, 2004.




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         314. In addition, wetlands preservation and restoration could have been readily

accomplished by widespread fresh water introduction into the Central Wetlands Unit that would

have buffered any saltwater intrusion and flushed out salt. Sources of freshwater included the

Violet diversion structure and variable operation of water control structures at Bayou Bienvenue

and Bayou Dupre drainage pumps discharging surface runoff into the Central Wetlands Unit, and

freshwater from treated, disinfected municipal effluent (waste water). Exh. 95, Day/Shaffer

Expert Report (July 2008) at pp. 35-36.

Channel Bank Erosion

         315. The massive widening of the Reach 2 channel through bank erosion was

preventable at any time by armoring at its authorized or expanded width to protect the banks

from predicted erosion from ship waves. Exh. 95, Day/Shaffer Expert Report (July 2008) at p.

34.

         316. Before the MR-GO was constructed, the Corps knew that bank protection can be

accomplished by several means, including riprap, rock dikes, armor stone, shell core, and

articulated concrete mattresses. Exh. 208, MRGO, PM-R Proposal for Gaining National

Environmental Policy Act Compliance for the Operation and Maintenance Program (NOP-019-

000000207) (4/11/05); Exh. 1990, Letter to Chief of Engineers, ENGCW-V from Major General

Ellsworth I. Davis, USA, Division Engineer; Subject: Hurricane Protection – LPV – Chalmette

Area (AFW-467-000003416) (3/21/66); Exh. 1991, MRGO Recon, Mile 23 to 27, Computation

Sheet NED-167-000001330 (8/31/93).

         317. An additional benefit of armoring the Reach 2 bank lines is the fact that the

approximately 250 meter area of drainage spoil between the channel bank and the toe of the LPV

structures would have vegetated in salt-tolerant herbaceous plants, shrub-scrub and trees, similar




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